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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION

J.O.P., et al.,
Plaintiffs,
Case No. 8:19-cv-01944-SAG

V.

U.S. DEPARTMENT OF HOMELAND
SECURITY, ef al.

Defendants.

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DEFENDANTS’ STATUS REPORT IN RESPONSE TO THE COURT’S

JUNE 5, 2025 ORDER

Pursuant to this Court’s June 5, 2025, Order directing Defendants to file a weekly status
report in the form of “a declaration from an individual with personal knowledge” addressing: (1)
Cristian’s current physical location and custodial status; (2) what steps, if any, Defendants have
taken to facilitate Cristian’s return to the United States; and (3) what additional steps Defendants
will take, and when, to facilitate Cristian’s return;” and May 28, 2025 Order, see ECF Nos. 280
and 287, Defendants submit the Declaration of Acting Deputy Executive Associate Director
Mellissa B. Harper, attached to this filing as Exhibit A.
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Dated: June 27, 2025 Respectfully submitted,

BRETT A. SHUMATE
Assistant Attorney General
Civil Division

WILLIAM C. PEACHEY
Director
Office of Immigration Litigation

YAMILETH G. DAVILA
Assistant Director

Kelark A. Habashi
Trial Attorney

(s/Erhan Bedestani

ERHAN BEDESTANI

Trial Attorney (MN Bar No. 0504824)
U.S. Department of Justice

Civil Division

Office of Immigration Litigation
P.O. Box 868, Ben Franklin Station
Washington, DC 20044
Telephone: (202) 598-7451

Fax: (202) 305-7000
erhan.bedestani2 ‘@usdoj.gov

Attorneys for Defendants

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CERTIFICATE OF SERVICE

I hereby certify that on June 27, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CWECF e-filing system.

/s/ Erhan Bedestani

Erhan Bedestani (MN Bar 0504824)
Trial Attorney

United States Department of Justice
Civil Division

Office of Immigration Litigation

Attorney for Defendants
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EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Southern Division)

J.O.P., etal,
Plaintiffs,
“ 8:19-CV-01944-SAG
U.S. DEPARTMENT OF Declarationof
HOMELAND SECURITY, et al. Acting Deputy Associate Director
Mellissa B. Harper
Defendants.

DECLARATION OF MELLISSA B. HARPER
I, Mellissa B. Harper, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

1. I am currently employed by the U.S. Department of Homeland Security (DHS),
U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations
(ERO) as the Acting Deputy Executive Associate Director (A)D-EAD. I have held this position
since May 29, 2025.

2. As (A)D-EAD, I oversee the mission of ERO’s eight headquarters divisions:
Enforcement, Removal, Non-Detained Management, Custody Management, Field Operations,
ICE Health Service Corps, Law Enforcement Systems and Analysis, and Operations Support.

3. I am aware of the court’s order in J.O.P. v. Department of Homeland
Security, ECF No. 254, which orders the Defendants to facilitate the return of an alien with
the pseudonym Cristian. I am also aware of ECF No. 293, which orders the Defendants to
file weekly status reports in the form of a declaration.

4. DOS is the agency of the United States Government responsible for high-
level diplomatic discussions.

5. DHS has informed the U.S. Department of State (DOS) of the Court’s order
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and requested DOS assistance in complying with the Court’s order, including by entering
into negotiations to facilitate Cristian’s return. DOS has acknowledged the request.

6. Given the nature of the diplomatic discussions necessitated by the court's
order to facilitate Cristian’s return to the United States, which would involve engagement
with the highest levels of the Salvadoran government, and as conveyed to you previously.
the State Department including in country Embassy officials has assumed responsibility on
behalf of the U.S. Government for these diplomatic discussions with El Salvador.

7. The State Department informed me on June 26, 2025, that the Embassy
remains in communication with the Government of El Salvador, but it has not received an

additional update this week regarding the custodial status and health of Cristian.

I declare. under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.

Executed this 26th day of June 2025.

Digitally signed by MELLISSA B
HARPER

M E LL | SSA B DN cn=MELLISSA B HARPER

o=U.S. Government ou=Peopie

H A R P E R email-Meilissa.B Harper@ice ahs

gov c=US
_ Date 2025-06-26T18.35.14-0400

Mellissa B. Harper

Acting Deputy Associate Director
Enforcement and Removal Operations

U.S. Immigration and Customs Enforcement
U.S. Department of Homeland Security

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